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                EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:                                                     Chapter 11

4202 PARTNERS LLC,                                         Case No. 20-42438 (NHL)

                                 Debtor.


       ORDER APPROVING SALE FREE AND CLEAR OF LIENS, CLAIMS,
  ENCUMBRANCES, AND OTHER INTERESTS AND GRANTING RELATED RELIEF

       WHEREAS, 4202 Fort Hamilton Debt LLC (“Fort Hamilton Debt” or “Plan Proponent”)
having filed and served its Amended Chapter 11 Plan of Liquidation for Debtor 4202 Partners LLC
(the “Lender’s Plan”);1 and

        WHEREAS, the Lender’s Plan provides for the Sale pursuant to Section 363 of the
Bankruptcy Code of real property located at 4202 Fort Hamilton Parkway, Brooklyn, New York
and all rights attendant to such property (collectively, the “4202 Property”); and

       WHEREAS, this Court has confirmed the Lender’s Plan and, on _____________, 2021,
entered the Confirmation Order, which, inter alia, approved the Sale Procedures;

        WHEREAS, due and adequate notice of the Sale, the Sale Procedures, and the Auction
having been given to the 4202 Debtor, its counsel, all creditors, and all parties in interest entitled to
notice, and no other or further notice being required; and

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             Capitalized terms not otherwise defined herein shall have the meaning ascribed in the Plan.


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       WHEREAS, the Auction having been held on __________, 2021; and

       WHEREAS, Fort Hamilton Debt having filed a motion seeking approval of the Sale (the
“Sale Motion”); and

       WHEREAS, the Court having held a Sale Hearing to consider approval of the Sale to the
Successful Bidder, _____________________________________ (the “Purchaser”);

        NOW, THEREFORE, after due deliberation and good and sufficient cause appearing
therefor, it is hereby FOUND AND DETERMINED THAT:

       A.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing
Order of Reference from the United States District Court for the Eastern District of New York,
dated August 28, 1986, as amended by Order dated December 5, 2012.

       B.      This matter is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (N).

        C.      Pursuant to the Lender’s Plan and the Confirmation Order, this Court retained
jurisdiction to adjudicate this matter and issue this Sale Order.

       D.      Venue in this district is proper under 28 U.S.C. §§ 1408 and 1409.

      E.      The statutory predicates for the relief requested in the Sale Motion are Bankruptcy
Code Sections 105(a), 363, and 1146(a) and Federal Rules of Bankruptcy Procedure 2002 and 6004.

        F.      Proper, timely, adequate, and sufficient notice of the Sale, the Auction, the Sale
Procedures, the Sale Motion, and the Sale Hearing has been provided in accordance with
Bankruptcy Code Sections 102(1), 363, and 365 and Federal Rules of Bankruptcy Procedure 2002,
6004, and 9014, and also in accordance with the terms of the Lender’s Plan and Confirmation
Order, to all interested Persons, as reflected on the affidavits of service filed in the Chapter 11 Case
at Docket No. [_]. The notice provided was sufficient and appropriate under the circumstances, and
no other notice is required.

       G.     The disclosures made by the Plan Proponent concerning the Auction, the Sale to the
Purchaser, and the Sale Hearing were complete and adequate.

       H.     The Sale Procedures set forth in the Lender’s Plan, as approved by the Confirmation
Order, were proposed and executed in good faith and at arm’s length, were free of collusion, and
were procedurally and substantively fair to all concerned.

       I.    The Plan Proponent conducted the Auction and the Sale in accordance with, and has
otherwise complied in all respects with, the Sale Procedures.

        J.      The Auction and Sale afforded a full, fair, and reasonable opportunity for all
creditors, equity holders, parties in interest, and other entities to make a higher or otherwise better
offer to purchase the 4202 Property.




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       K.     A reasonable opportunity to object to the Sale Motion and be heard at the Sale
Hearing has been afforded to all interested Persons.

      L.     The Purchaser is not an “insider” or “affiliate,” as those terms are defined in the
Bankruptcy Code, of the 4202 Debtor or the 4218 Debtor.

       M.     The aggregate Purchase Price for the 4202 Property at the Sale was not controlled by
any agreement among any of the bidders, including, without limitation, the Plan Proponent.

         N.      The Purchaser is a good faith purchaser pursuant to Bankruptcy Code
Section 363(m) and, as such, is entitled to all of the protections afforded thereby in that: (a) the
Purchaser recognized that the 4202 Debtor and Plan Proponent were free to deal with any other
party interested in a transaction regarding the Sale; (b) the Purchaser complied in all respects with
the Sale Procedures, including among other things, recognizing the Plan Proponent’s right to accept
a higher or better offer in respect of the Sale; (c) the Purchaser made the highest or best Bid in
respect of the Sale; (d) all payments to be made by or to the Purchaser and other agreements or
arrangements entered into by the Purchaser in connection with the transactions have been disclosed;
(e) the Purchaser neither induced nor caused the bankruptcy filing by the 4202 Debtor; (g) the Bid
by the Purchaser was made in good faith, and the Sale constitutes an arm’s length transaction
between the Purchaser and the Plan Proponent; (h) the Purchaser has not violated Bankruptcy Code
Section 363(n) by any action or inaction; and (i) the Purchaser has provided reasonable assurances
that it will continue to act in good faith within the meaning of Bankruptcy Code Section 363(m) in
closing the transactions contemplated by the Sale.

       O.      The Plan Proponent has not engaged in any conduct that would cause or permit the
avoidance of the Sale or the consummation of the Sale or the imposition of costs or damages under
Bankruptcy Code Section 363(n).

        P.      Approval by this Court and consummation of the Sale are in the best interests of the
4202 Debtor’s creditors and other parties in interest, as the Purchase Price provided by the
Purchaser for the 4202 Property: (a) is fair and reasonable; (b) is the highest or best offer for the
4202 Property; (c) will provide a greater recovery for the creditors than would be provided by any
other practical available alternative; and (d) constitutes fair consideration under the Bankruptcy
Code and applicable non-bankruptcy law.

        Q.    No other Person or group of Persons has offered to purchase the 4202 Property for
greater economic value to the 4202 Debtor’s Estate and creditors than the Purchaser.

        R.     The Purchaser is not a mere continuation of or successor to the 4202 Debtor or its
Estate, no continuity of enterprise exists between the 4202 Debtor and the Purchaser, and the Sale
does not amount to a consolidation, merger, or de facto merger of the 4202 Debtor and the
Purchaser.

        S.       The Purchaser has not agreed to assume, and shall have no obligations with respect
to, any liabilities of the 4202 Debtor or its members, managers, or affiliates.

       T.     The 4202 Debtor has good and marketable title to the 4202 Property and is the lawful
owner of the 4202 Property.


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       U.      The release and exculpation of the Plan Proponent and its agents, employees,
representatives, attorneys, and professionals with respect to the Sale is necessary and appropriate.

       THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

        1.      The findings of fact set forth above and conclusions of law stated herein shall
constitute this Court’s findings of fact and conclusions of law pursuant to Federal Rule of
Bankruptcy Procedure 7052, made applicable to this proceeding pursuant to Federal Rule of
Bankruptcy Procedure 9014. To the extent any finding of fact later shall be determined to be a
conclusion of law, it shall be so deemed, and to the extent any conclusion of law later shall be
determined to be a finding of fact, it shall be so deemed.

        2.      The Successful Bidder’s Bid for the 4202 Property is the highest or otherwise best
offer for the 4202 Property.

        3.      The Sale and all of the terms, conditions, and transactions contemplated thereby are
hereby authorized and approved pursuant to Bankruptcy Code Sections 105(a) and 363(b). The
Plan Proponent is authorized to consummate the Sale pursuant to and in accordance with the terms
of the Lender’s Plan. The 4202 Debtor and its members, managers, or affiliates shall at all times act
in accordance with the terms of the Lender’s Plan and this Sale Order, including, without limitation,
executing and delivering all documents and instruments, including, without limitation, a quitclaim
or other deed, that may be reasonably necessary to implement and consummate the Sale, effectuate
the provisions of this Sale Order, and complete the transfer of the 4202 Property to the Purchaser.

        4.      The requirements set forth in Bankruptcy Code Section 363(f) have been satisfied,
and accordingly, the Sale of the 4202 Property is free and clear of all liens, claims, encumbrances,
and other interests of any kind having arisen, existed, or accrued prior to and through the Sale
Closing. Those holders of liens, claims, or interests who did not object to the Lender’s Plan or the
Sale Motion, or who withdrew such objections prior to adjudication by this Court, are deemed to
have consented pursuant to Bankruptcy Code Section 363(f)(2). Those holders of liens, claims, or
interests who objected to the Lender’s Plan or the Sale Motion may be compelled to accept a money
satisfaction of such liens, claims, or interests pursuant to Bankruptcy Code Section 363(f)(5).

        5.      Any and all objections, if any, to the Sale and to the relief granted herein that have
not been withdrawn, waived, or settled, and all reservations of rights included in such objections,
are hereby overruled on the merits with prejudice, and in each case, the party asserting the objection
or reservation of right is enjoined from taking any action against the Purchaser, its affiliates, or any
agent of the foregoing to recover any claim which such person or entity has solely against the
4202 Debtor, its Estate, or any of its affiliates or partners.

        6.       Pursuant to Bankruptcy Code Sections 105(a) and 363, upon the Sale Closing, good
and marketable title to the 4202 Property and all of the 4202 Debtor’s rights, title, and interests
therein shall be transferred to the Purchaser free and clear of all liens, claims, and interests, and all
such liens, claims, and interests shall attach to the net cash proceeds of the Sale in order of priority
as set forth in the Lender’s Plan and as provided in the Bankruptcy Code. The transfer of the
4202 Property to the Purchaser shall constitute a legal, valid, and effective transfer of the




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4202 Property and shall vest the Purchaser with all right, title, and interests of the 4202 Debtor in
the 4202 Property.

         7.     Except as expressly provided herein, the Court’s approval of the Sale and the
occurrence of the Sale Closing shall be effective as a determination that, upon the Sale Closing, all
liens, claims, and interests with respect to the 4202 Property have been unconditionally released,
discharged, and terminated without further action by any holder of such liens, claims, or interests,
and such determination shall be binding upon all filing agents, filing officers, title agents, title
companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative agencies,
government departments, secretaries of state, and other federal, state, and local officials who may
be required by operation of law, the duties of their office, or contract to accept, file, register, or
otherwise record or release any documents or instruments or to insure any title or state of title in or
to the 4202 Property.

        8.       Without limiting the other provisions of this Sale Order, if any Person that has filed
financing statements, liens, lis pendens, or other documents or agreements evidencing a lien, claim,
or interest in the 4202 Property shall not have delivered to the Plan Proponent or its designee prior
to the Sale Closing, in proper form for filing and executed by the appropriate Persons, termination
statements, instruments of satisfaction, or releases of any such lien, claim, or interest, then at or
upon the Sale Closing: (a) the Plan Proponent is hereby authorized to execute and file such
statements, instruments, releases, or other documents, including, without limitation, a quitclaim or
other deed, on behalf of any such Person with respect to the 4202 Property; and (b) the Purchaser
and/or the Plan Proponent are hereby authorized to file, register, or otherwise record a copy of this
Sale Order, which, once filed, registered, or otherwise recorded, shall constitute conclusive
evidence of the release of all liens, claims, and interests in or against the 4202 Property. This Sale
Order is deemed to be in recordable form sufficient to be placed in the filing or recording system of
each federal, state, and local governmental agency, department, or office.

        9.       The Sale and Sale Closing are undertaken by the Purchaser in good faith, as that term
is used in Bankruptcy Code Section 363(m), and the Purchaser qualifies as a good faith purchaser
entitled to the protections afforded by Bankruptcy Code Section 363(m) with respect to the
purchase of the 4202 Property. Any reversal or modification on appeal of this Sale Order, in whole
in or in part, shall not affect the validity of the Sale to the Purchaser.

        10.     Pursuant to Bankruptcy Code Section 1146(a), the transfer of the 4202 Property to
the Purchaser and the recording of any deed or other instrument of transfer pursuant to this Sale
Order, the Confirmation Order, and the Lender’s Plan shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, filing or
recording fee, or other similar tax or governmental assessment, and the appropriate state or local
government officials or agents shall forego the collection of any such tax or governmental
assessment and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

       11.     The Purchaser has agreed to provide substantial consideration in exchange for the
purchase of the 4202 Property, and upon the Sale Closing, such consideration paid shall constitute



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fair and reasonable value for the purchase of the 4202 Property, such that the Sale may not be
avoided pursuant to Bankruptcy Code Section 363(n).

       12.     Except as otherwise provided herein, all Persons, including, without limitation, all
holders of Claims against or Interests in the 4202 Debtor, are forever barred, estopped, and
permanently enjoined from asserting such Person’s Claims or Interests against the 4202 Property,
the Purchaser, or the Purchaser’s successors or assigns. Following the Sale Closing, no holder of a
Claim against or Interest in the 4202 Debtor shall interfere with the Purchaser’s title to or use and
enjoyment of the 4202 Property on account of such Claim or Interest, and effective upon the Sale
Closing, the Purchaser shall have no liability with respect to any Claims against or Interests in the
4202 Debtor or its Estate. The consideration given by the Purchaser in exchange for the purchase of
the 4202 Property constitutes valid and reasonable consideration for the release described herein.

         13.     Neither the Plan Proponent nor its affiliates, present or former employees, agents,
advisors, or professionals (including attorneys, accountants, and the Broker) shall have or incur any
liability to the Purchaser, any holder of a Claim or Interest, or any other party in interest, including
the 4202 Debtor and its members, managers, or affiliates, or any of their respective agents,
employees, representatives, professionals, successors or assigns for any act or omission in
connection with, relating to, or arising out of the Auction, the Sale, and/or the transfer of the
4202 Property, including, without limitation, all activities leading to the Auction and the Sale. This
Sale Order effectuates a release of the Plan Proponent and its affiliates, present or former
employees, agents, advisors, or professionals (including attorneys, accountants, and the Broker)
from any asserted or potential liability in connection with, relating to, or arising out of the Auction,
the Sale, and/or the transfer of the 4202 Property; provided, however, that the foregoing release
shall not apply to any act that is determined by a Final Order to constitute gross negligence or
willful misconduct.

        14.     This Sale Order shall be binding in all respects upon: (a) the 4202 Debtor; (b) the
4202 Debtor’s Estate; (c) the 4202 Property; (d) all creditors of the 4202 Debtor; (e) all holders of
any liens, claims, or interests, whether known or unknown, against all or any portion of the
4202 Property; (f) the Purchaser and all successors or assigns of the Purchaser; and (g) any
successor representative of the 4202 Debtor or its Estate, including, without limitation, any trustee
or receiver appointed upon dismissal or conversion of the Chapter 11 Case. This Sale Order shall
inure to the benefit of the 4202 Debtor’s Estate, its creditors, the Purchaser, the Plan Proponent, and
the respective successors and assigns of each of the foregoing.

        15.     This Court hereby retains exclusive jurisdiction to enforce and implement the terms
and provisions of this Sale Order, including, without limitation, compelling transfer of the
4202 Property to the Purchaser, resolving any disputes arising under or related to the Sale, and
interpreting the provisions of this Sale Order and resolving any disputes related thereto.

        16.     Notwithstanding the provisions of Federal Rules of Bankruptcy Procedure 6004, any
other Federal Rule of Bankruptcy Procedure, or any applicable provisions of this Court’s Local
Bankruptcy Rules, this Sale Order shall become effective immediately upon entry by the Court and
shall not be stayed.
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